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     P.O. Box 26945
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4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                             FOR THE DISTRICT OF ARIZONA

8
     In re:                              )     In Chapter 7 Proceedings
9                                        )
     JOHN MARTIN SCHOTTS;                )     Case No. 0:21-BK-01283-PS
10                                       )
                             Debtor.     )
11                                       )

12                           MOTION TO APPROVE SALE
                                OF REAL PROPERTY
13
                The trustee moves this Court for the entry of an order
14
     authorizing the sale of residential real property commonly described as
15
     707 Lynwood Dr., Minerva, OH. The trustee’s motion is more fully set
16
     forth in and is supported by the following Memorandum Of Points and
17
     Authorities which is incorporated by reference herein.
18
                DATED September 7, 2021.
19
                                         TERRY A. DAKE, LTD.
20

21                                       By /s/ TD009656
                                             Terry A. Dake – 009656
22                                           P.O. Box 26945
                                             Phoenix, Arizona 85068-6945
23
                        MEMORANDUM OF POINTS AND AUTHORITIES
24
                At the time that this case was filed, the debtor owned
25
     residential real property generally described as 707 Lynwood Dr.,
26
     Minerva, OH (the “property”).       The trustee listed the property for sale
27
     and has received an offer of $110,300.00, plus a buyer’s premium of
28

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1    $2,000.00.    A copy of the offer is attached.               The proposed buyer is

2    Inspiring Forest, LLC, whose principal is Scott A. Hiera.                The trustee

3    believes that this offer is a fair value for the property.                            The

4    proposed buyer has no known relationship to the debtor or to the

5    bankruptcy estate.

6               From the sale proceeds will be paid an amount acceptable to

7    the first lien deed of trust of Amerisave Mortgage Corp., along with

8    real property taxes, association dues (if any), title insurance and

9    other ordinary and customary expenses of sale.                Also to be paid is a

10   realtor’s commission of 6% to be divided between the realtors for the

11   buyer and seller.

12              This    is   a   short    sale       with   a   proposed   carve    out     of

13   approximately     $5,515.00   to    the   bankruptcy       estate.    This     sale    is

14   dependent on an agreement being reached with the first lien holder to

15   accept a reduced payoff.      One of the tasks of the trustee’s realtors is

16   to negotiate that agreed price. The trustee is informed and believes

17   that this process is in process.

18              The trustee believes that the proposed sale is reasonable and

19   in the best interest of the estate.             Accordingly, the trustee requests

20   the entry of an order approving a sale of the property as set forth

21   herein or for the amount of the highest and best offer made at the

22   hearing on the proposed sale.

23              The trustee provides the following additional information

24   pursuant to Local Rule 6004-1:

25              1. Other than the debtor and the first lien holder, no other

26   person or entity is known to have an interest in the property.

27

28                                               2

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1               2. The sale is not free and clear of liens, claims or

2    interests.

3               3. The purchase price is to be paid in full at the close of

4    escrow.

5               4. The property may be viewed by contacting the trustee’s

6    counsel whose contact information appears on this motion.

7               5. The sale is subject to higher and better offers at the time

8    of the hearing on the sale.

9               6. No compensation will be paid from the sale except for real

10   estate commissions.      The realtors are not insiders.

11              7. The trustee does not have an appraisal of the property.

12              8. There is an existing stay relief order at Admin. Dkt. No.

13   27.   The trustee believes that the lender has agreed to forbear from

14   proceeding with foreclosure in anticipation of a sale of the property.

15              WHEREFORE, the      trustee prays      for   the entry    of   an order

16   authorizing the sale of the property as set forth herein.

17              DATED September 7, 2021.

18                                       TERRY A. DAKE, LTD.

19                                       By /s/ TD009656
                                           Terry A. Dake
20                                         P.O. Box 26945
                                           Phoenix, Arizona 85068-6945
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